      Case 1:18-cv-00152-JEB Document 82 Filed 11/15/18 Page 1 of 3



                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
RONNIE STEWART, et al.,                   )
                                           )
                              Plaintiffs,  )
                                           )
            v.                             ) No. 1:18-cv-0152-JEB
                                           )
ALEX M. AZAR, et al.                       )
                                           )
                              Defendants. )
                                           )

                                JOINT STATUS REPORT

        In accordance with the Court’s minute order on August 30, 2018, plaintiffs Ronnie

Maurice Stewart, et al., federal defendants Alex M. Azar, et al., and intervenor-defendant the

Commonwealth of Kentucky (collectively, the “parties”) respectfully submit the following

joint status report.

    1. On July 19, 2018, in light of this Court’s remand order, the Centers for Medicare &

        Medicaid Services (“CMS”) opened another 30-day federal public comment period

        so that the public could submit comments regarding (1) Kentucky's original August

        24, 2016, demonstration project proposal under 42 U.S.C. § 1315; (2) Kentucky’s

        July 3, 2017, revised proposal; and (3) the special terms and conditions (“STCs”) that

        CMS approved on January 12, 2018, in connection with Kentucky’s proposals.

    2. The federal comment period closed on August 18, 2018.

    3. CMS continues to evaluate Kentucky’s application and the submitted comments.




                                             -1-
      Case 1:18-cv-00152-JEB Document 82 Filed 11/15/18 Page 2 of 3



    4. The parties will update the Court in their next joint status report, due on December

       15, 2018, regarding any further developments.1 See Aug. 30, 2018 Minute Order.




Dated: November 15, 2018                           Respectfully submitted,

                                                   JOSEPH H. HUNT
                                                   Assistant Attorney General

                                                   MICHELLE BENNETT
                                                   Assistant Director
                                                   Federal Programs Branch

                                                   /s/ Vinita B. Andrapalliyal
                                                   VINITA ANDRAPALLIYAL
                                                   Trial Attorney
                                                   U.S. Department of Justice
                                                   Civil Division, Federal Programs Branch
                                                   20 Massachusetts Avenue, N.W.
                                                   Washington, D.C. 20530
                                                   (202) 305-0845 (telephone)
                                                   vinita.b.andrapalliyal@usdoj.gov

                                                   Counsel for the Federal Defendants

                                                   /s/ Jane Perkins____
                                                   Jane Perkins
                                                   Catherine McKee
                                                   Sarah Somers
                                                   National Health Law Program
                                                   200 N. Greensboro Street, Suite D-13
                                                   Carrboro, NC 27510
                                                   Phone: 919-968-6308 (x101)
                                                   perkins@healthlaw.org
                                                   mckee@healhtlaw.org

                                                   Counsel for Plaintiffs

                                                   /s/ Matthew F. Kuhn
                                                   M. STEPHEN PITT


1
  Because December 15, 2018, is a Saturday, the parties will submit their next joint status
report by Friday, December 14, 2018.


                                             -2-
Case 1:18-cv-00152-JEB Document 82 Filed 11/15/18 Page 3 of 3



                                  S. CHAD MEREDITH
                                  MATTHEW F. KUHN
                                  Office of the Governor
                                  700 Capital Avenue, Suite 101
                                  Frankfort, Kentucky 40601
                                  (502) 564-2611 (telephone)
                                  Steve.Pitt@ky.gov
                                  Chad.Meredith@ky.gov
                                  Matt.Kuhn@ky.gov

                                  Counsel for the Commonwealth of Kentucky




                            -3-
